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                                                                  FILED: August 22, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

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                                          No. 23-1638
                                   (1:22-cv-00140-MSN-IDD)
                                     ___________________

        CURTIS LEVAR WELLS, JR.

                     Plaintiff - Appellant

        v.

        JAVIER FUENTES, Badge #1666; SCOTT WANEK, Badge #1137; MICHAEL
        P. ARMSTRONG, Badge #331; ASHLEY BARNICKLE, Badge #1574;
        LAUREN LUGASI, Badge #1625; KIMBERLY SOULES, Badge #1630;
        AUSTIN KLINE, Badge #1720; JOHN VANAK, Badge #1399; KEITH
        SHEPHERD; COUNTY OF ARLINGTON; ARLINGTON COUNTY POLICE
        DEPARTMENT; JOHN DOES 1 through 10; UNITED STATES OF AMERICA

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants an extension of the briefing schedule as follows:

              Joint appendix due: 10/30/2023

              Opening brief due: 10/30/2023

              Response brief due: 12/15/2023
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              Any reply brief: 01/05/2024



                                            For the Court--By Direction

                                            /s/ Patricia S. Connor, Clerk
